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                           IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

LA UNION DEL PUEBLO ENTERO, et al.,

     Plaintiffs,
                                                                     No. 5:21-cv-844-XR
v.
                                                                        [Lead Case]
GREGORY W. ABBOTT, et al.,

     Defendants.

                   ORDER GRANTING MOTION TO WITHDRAW COUNSEL

            On this date, the Court considered State Defendants’ Unopposed Motion to Withdraw

     Chris D. Hilton as Counsel. After considering the Motion, the Court is of the opinion that the

     Motion should be GRANTED.

            Accordingly, it is ORDERED, ADJUDGED and DECREED that Chris D. Hilton is hereby

     withdrawn as counsel of record for Defendants Gregory W. Abbott, in his official capacity as

     Governor of Texas, Jane Nelson, in her official capacity as Secretary of State Texas, Warren K.

     Paxton, in his official capacity as Attorney General of Texas, and the State of Texas.

            SIGNED this ________ day of _______________________, 2024.




                                                   XAVIER RODRIGUEZ
                                                   UNITED STATES DISTRICT JUDGE
